         Case 1:15-cv-01623-CL         Document 53             Filed 12/08/17      Page 1 of 2




Daniel E. Thenell, OSB No. 971655
dan@thenelllawgroup.com
Chelsea P. Pyasetskyy, OSB No. 136450
chelsea@thenelllawgroup.com
Thenell Law Group, P.C.
12909 SW 68th Parkway, Suite 290
Portland, Oregon 97223
503-372-6450 phone
503-372-6496 fax
       Of Attorneys for Defendant Country Mutual Insurance Company


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     MEDFORD DIVISION



 CARLO VERITAS,                                                          Case No. 1:15-cv-01623-CL

        Plaintiff,
                                                             STIPULATED MOTION AND ORDER
          vs.                                                FOR DISMISSAL WITH PREJUDICE
 COUNTRY MUTUAL INSURANCE
 COMPANY,
        Defendant.


      Pursuant to Fed R Civ P 41, the parties to this action hereby stipulate to the dismissal of all

///

///

///




 STIPULATED MOTION AND ORDER FOR DISMISSAL WITH PREJUDICE                                            83 I 464


                                       THENELL LAW GROUP, P.C.
                                      12909 SW 68th Parkway, Suite 290
                                           Portland, Oregon 97223
                                         Telephone (503) 372-6450
                                          Facsimile (503) 372-6496
           Case 1:15-cv-01623-CL        Document 53             Filed 12/08/17   Page 2 of 2




claims and counterclaims with prejudice and without an award of attorney fees, costs, or

disbursements to any party.

IT IS SO STIPULATED:


   DATED: December 8, 2017                                 DATED: December 8, 2017

   TAYLOR & TAPPER                                         THENELL LAW GROUP, P.C.

   By: /s/ Clinton Tapper                                  By: /s/ Daniel E. Thenell
   Clinton Tapper                                          Daniel E. Thenell, OSB #971655
   clinton@taylortapper.com                                Email: dan@thenelllawgroup.com
   R. Scott Taylor                                         Of Attorneys for Defendant County
   scott@taylortapper.com;                                 Mutual Insurance Company
   Of Attorneys for Plaintiff




                            ORDER APPROVING STIPULATION

         This matter having come before the court on the Stipulation of Plaintiff Carlo Veritas and

Defendant Country Mutual Insurance Company, therefore, it is hereby

         ORDERED, ADJUDGED AND DECREED that all claims by Plaintiff Carlo Veritas

against Defendant are hereby dismissed with prejudice and without attorney fees and costs to either

party.

DATED: _______________________, 2017


                                                     _______________________________________
                                                        United State District Judge




 STIPULATED MOTION AND ORDER FOR DISMISSAL WITH PREJUDICE                                      83 I 464


                                        THENELL LAW GROUP, P.C.
                                       12909 SW 68th Parkway, Suite 290
                                            Portland, Oregon 97223
                                          Telephone (503) 372-6450
                                           Facsimile (503) 372-6496
